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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

   TWINSTRAND BIOSCIENCES, INC., &
   UNIVERSITY OF WASHINGTON,
                                               C.A. No. 21-1126-LPS
                     Plaintiffs,
                                               JURY TRIAL DEMANDED
          v.

   GUARDANT HEALTH, INC.,

                     Defendant.



      DEFENDANT GUARDANT HEALTH, INC.’S OPPOSITION TO PLAINTIFFS’
      OPENING BRIEF IN SUPPORT OF THEIR PARTIAL MOTION TO DISMISS
     GUARDANT HEALTH’S COUNTERCLAIMS (COUNTS V–VIII) AND RELATED
                         AFFIRMATIVE DEFENSES




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  I.     INTRODUCTION

         TwinStrand Biosciences, Inc.’s, (“TwinStrand”) and University of Washington’s (“UW,”

  collectively, “Plaintiffs”) partial motion to dismiss Defendant Guardant Health, Inc.’s

  (“Guardant”) Counterclaim Counts V–VIII and to strike Guardant’s Fourth, Eighth, and Twelfth

  affirmative defenses should be denied on all grounds. First, Guardant’s inequitable conduct

  allegations meet the heightened pleading standard because Guardant specified the material

  omission—that the inventors did not disclose that they copied claims from Guardant patents—

  and pled facts establishing the who, what, when, where, and how of the inventors’ inequitable

  conduct. Second, Guardant’s unpatentability counterclaims and affirmative defenses are

  adequately pled because: (1) they plausibly allege that the asserted patents fail to identify the true

  inventors of the claimed inventions, i.e., the inventors from whom TwinStrand copied its

  asserted claims; (2) pre-AIA § 135 provides a cause of action (and, even if it does not, it does not

  support dismissing the counterclaims in their entirety); and (3) Guardant’s affirmative defenses

  provide fair notice and thus are adequately pled under Fed. R. Civ. P. 12(f).

  II.    BACKGROUND

         Plaintiffs filed suit against Guardant on August 3, 2021 alleging infringement of four

  patents owned by UW and exclusively licensed to TwinStrand. D.I. 1. Guardant denied these

  allegations in its October 1, 2021 answer. D.I. 10. Guardant filed an amended answer and

  counterclaims on January 12, 2022, (1) asserting four Guardant patents against TwinStrand

  (Counts I-IV), (2) asserting two counts of unpatentability under 35 U.S.C. §§ 101, 115, and/or

  135 (Counts V, VI), and (3) asserting two counts of inequitable conduct (Counts VII, VIII). D.I.

  30. Guardant also asserted several affirmative defenses, including a defense based on improper

  inventorship and derivation (Fourth Affirmative Defense), Plaintiffs’ and other’s unclean hands




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  during prosecution of TwinStrand’s patents (Eighth Affirmative Defense), and failure to comply

  with the conditions of patentability under § 135 (Twelfth Affirmative Defense).

         Guardant’s inequitable conduct, unpatentability, and improper inventorship counts and

  defenses describe TwinStrand’s pattern of claim copying—misappropriating the inventions of its

  competitors’ patents. D.I. 30 at ¶¶ 124-125, 140-148, 265, 290. Indeed, in U.S. Patent

  Application No. 16/411,066, TwinStrand wholesale withdrew all pending claims during

  prosecution, and then added new claims 37-66 that very closely track Guardant’s issued patent’s

  claims. TwinStrand did this knowing it had no support in its initial application for these claims

  (see D.I. 30 at p. 19 (Third Affirmative Defense)) and without notifying the Examiner of its

  claim copying. Indeed, TwinStrand completely disregarded § 135(b) and ignored the procedures

  in place to provoke an interference.

         With its ill-gotten claims, TwinStrand filed its Complaint in the instant case, asserting

  that Guardant’s products practice those same claims. Guardant responded with counterclaims

  and affirmative defenses based on TwinStrand’s improper actions. And despite that every one of

  Guardant’s counts and affirmative defenses is supported by factual allegations commensurate

  with its respective pleading requirements, TwinStrand asks this Court to deny Guardant the

  opportunity to defend the claims on these bases.

  III.   LEGAL STANDARD

         A court conducts a two-part analysis when presented with a Rule 12(b)(6) motion to

  dismiss for failure to state a claim. Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d Cir.

  2009). The court first separates the factual and legal elements of a claim, accepting all the

  complaint’s well-pleaded facts as true while disregarding any legal conclusions. Id. at 210-11.

  The court then determines whether the factual allegations in the complaint, or as in the instant


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  case, counterclaims, are sufficient to show that the counterclaim-plaintiff has a “‘plausible claim

  for relief.’” Id. at 211 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)). “A claim has facial

  plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

  inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. The

  court must “‘accept all factual allegations as true, construe the complaint in the light most

  favorable to the plaintiff, and determine whether, under any reasonable reading of the complaint,

  the plaintiff may be entitled to relief.’” Fowler, 578 F.3d at 210 (quoting Phillips v. Cnty. of

  Allegheny, 515 F.3d 224, 233 (3d Cir. 2008)). A plaintiff “need not ‘prove its case at the

  pleading stage’” or “plead facts establishing that each element of an asserted claim is met.”

  Nalco Co. v. Chem-Mod, LLC, 883 F.3d 1337, 1350 (Fed. Cir. 2018).

         “When ruling on a motion to strike, ‘the [c]ourt must construe all facts in favor of the

  nonmoving party and deny the motion if the defense is sufficient under law.’” Symbol Techs.,

  Inc. v. Aruba Networks, Inc., 609 F. Supp. 2d 353, 356 (D. Del. 2009) (citations omitted). “Due

  to the ‘differences between Rules 8(a) and 8(c) in text and purpose, [ ] Twombly and Iqbal do not

  apply to affirmative defenses,’ which ‘need not be plausible to survive. [An affirmative defense]

  must merely provide fair notice of the issue involved.’” Senju Pharm. Co. v. Apotex, Inc., 921 F.

  Supp. 2d 297, 303–04 (D. Del. 2013) (quoting Internet Media Corp. v. Hearst Newspapers, LLC,

  No. 10-690-SLR, 2012 WL 3867165, at *3 (D. Del. Sept. 6, 2012).

  IV.    ARGUMENT

         All of Guardant’s counterclaims and affirmative defenses are adequately pled.

  Guardant’s allegations of inequitable conduct in Counts VII and VIII meet the heightened

  pleading requirements of Rule 9(b) because they sufficiently identify the who, what, when,

  where, and how of the inventors’ material omission before the Patent and Trademark Office.


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  Guardant sufficiently pled each substantive element where it included facts identifying (1) the

  specific individuals involved in prosecution; (2) the specific claims that are copies of other

  claims; and (3) explained why the withheld disclosure of claim copying establishes

  unpatentability. At this pleading stage, Guardant is not required to prove its entire case.

         Guardant’s allegations of unpatentability in Counts V and VI are also sufficient.

  Guardant has alleged facts that demonstrate Plaintiffs did not meet the requirements of Sections

  101, 115, and 135 for failure to properly identify the true inventors. Plaintiffs’ motion, though,

  only disputes the applicability of Section 135, thus conceding these counts survive under §§ 101

  and 115. On that basis alone, Plaintiffs’ motion as to these counts should be denied. But Section

  135 can properly be raised as an invalidity defense in a district court litigation, and Plaintiffs cite

  no controlling authority to the contrary.

         Guardant’s affirmative defenses are likewise sufficient to put Plaintiffs on notice and

  should not be stricken.

         A.      Guardant Pled Sufficient Facts To Support Its Inequitable Conduct
                 Counterclaims.

                 1.      Guardant Pled Specific Facts Alleging Plaintiffs’ Failure To Notify
                         The PTO Of Plaintiffs’ Claim Copying.

         Guardant’s allegations of inequitable conduct in Counts VII and VIII meet the heightened

  pleading requirements of Rule 9(b) because they sufficiently identify the who, what, when,

  where, and how of the material omission before the Patent and Trademark Office (“PTO”).

  Exergen Corp. v. Wal–Mart Stores, Inc., 575 F.3d 1312, 1328 (Fed. Cir. 2009) (to plead

  inequitable conduct, “the pleading must identify the specific who, what, when, where, and how

  of the material misrepresentation or omission committed before the PTO”). The parties agree

  “[t]he substantive elements of inequitable conduct are: (1) an individual associated with the

  filing and prosecution of a patent application made an affirmative misrepresentation of a material
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   fact, failed to disclose material information, or submitted false material information; and (2) the

   individual did so with a specific intent to deceive the PTO.” D.I. 39 at 6, citing Exergen, 575

   F.3d at 1327, n.3; see also Sanders v. The Mosaic Co., 418 F. App'x 914, 919 (Fed. Cir. 2011)

   (“At the pleading stage the proponent of the inequitable conduct theory need only plead facts

   supporting a reasonable inference that a specific individual knew of the misrepresentation and

   had the specific intent to deceive the PTO.”).

          Guardant properly alleged why the withheld disclosure of claim copying establishes

   unpatentability and adequately pled each substantive element, satisfying the Exergen standard by

   specifying the who, what, when, where, and how of the alleged inequitable conduct.

          Who: Guardant specifically identified “Jesse Salk, Lawrence Loeb, Michael Schmitt, and

   Lara J. Dueppen” as individuals involved in the prosecution of the applications that issued as the

   ’699 and ’951 patents. D.I. 30 at ¶¶ 248, 252-253, 257, 260-261, 263-267, 269, 271, 278, 282,

   285-292, 294. Therefore, Guardant satisfies the “who” requirement.

          What and where: Guardant also identified the claims of the ’699 and ’951 patents that it

   alleges were copied, pleading “claims 37-39 and 41-43 of the ’066 Application were copied from

   the ’822 Patent” (D.I. 30 at ¶ 257) and “claims 1-2 of the ’931 Application were copied from the

   ’427 Application” (Id. at ¶ 282). Therefore, Guardant satisfies the “what” and “where”

   requirements.

          Why and how: Guardant identified both why the intentional failure to disclose the copied

   claims was material and how the withheld information would have been used to preclude the

   issuance of the ’699 and ’951 patents. Guardant’s allegations include that the failure to notify

   the PTO “constitutes disreputable or gross misconduct” with specific citations to statutes and the

   Manual of Patent Examining and Procedure (D.I. 30 at ¶¶ 257, 283). Guardant also alleges that


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   “identifying the copied claims would have triggered an interference, a much more thorough and

   in-depth examination as to whether the claims of the [] Application were entitled to be issued in

   light of the existence of identical claims in a previously-issued U.S. Patent.” (D.I. 30 at ¶¶ 262,

   287). Therefore, Guardant satisfies the “why” and “how” requirements.

          Plaintiffs’ reliance on Exergen is misplaced. In Exergen, the Court found three

   deficiencies in the allegations: (1) the “who” requirement was not met where the pleading failed

   “to name the specific individual associated with the filing or prosecution of the application”; (2)

   the “what” and “where” requirements were not met where the pleading failed “to identify which

   claims, and which limitations in those claims, the withheld references are relevant to, and where

   in those references the material information is found”; and (3) the “why” and “how”

   requirements were not met where the pleading did “not identify the particular claim limitations,

   or combination of claim limitations, that are supposedly absent from the information of record.”

   575 F.3d at 1329. None of those deficiencies are present in Guardant’s counts. As shown above,

   Guardant sufficiently pleaded the specific individuals, the relevant claims, and the material

   omission. Indeed, Plaintiffs concede that Guardant pled “a single alleged omission in each

   inequitable-conduct count,” D.I. 39 at 8, which is dispositive since Guardant also alleges that

   omission was intentional and material.

                  2.      Guardant Pled Intent To Deceive Where Clear Claim Copying Was
                          Not Disclosed To The PTO.

          Guardant has pled, with sufficient detail, that Jesse Salk, Lawrence Loeb, Michael

   Schmitt, and Lara J. Dueppen engaged in a “practice of copying claims into their own

   applications without disclosing that the claims are copied.” (D.I. 30 at ¶¶ 265, 290). Guardant

   also identified five other instances of undisclosed claim copying, and that in the one instance

   where claim copying was disclosed, “no patent issued.” Id. at ¶¶ 268, 293. And Plaintiffs

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   concede that Guardant alleged “the relevant people were experienced with prosecution and knew

   they had a duty to disclose claim copying to the Patent Office.” D.I. 39 at 9. “[S]uch intent to

   mislead the PTO is the only reasonable inference from the totality of the circumstances alleged

   in this counterclaim.” D.I. 30 at ¶¶ 264, 289.

          Plaintiffs suggest that Guardant must prove at the pleading stage that specific intent is the

   only reasonable inference based on the allegations. See D.I. 39 at 10 (stating that a “strong

   inference of fraudulent intent” is required (citing Exergen, 575 F.3d at 1327, n.4)). But this level

   of proof is not required at the pleading stage. “Defendants are not required at the pleading stage

   to prove (or even plead) that a specific deceptive intent is the single most reasonable inference to

   be drawn from the facts alleged.” Diebold Nixdorf, Inc. v. Hyosung Tns, Inc., No. 19-1695-LPS,

   2021 WL 861734, at *4 (D. Del. Mar. 4, 2021).

          But even under Plaintiffs’ proposed heightened standard, Guardant’s allegations pass

   muster. Experienced inventors and prosecuting counsel engaged in a pattern of copying claims

   and withheld the fact of that copying from the PTO and this establishes a strong inference of

   fraudulent intent. That the inventors “cited the ’822 patent to the Patent Office in an IDS,” D.I.

   39 at 11, bolsters the inference because it establishes they knew of the ’822 patent’s claims and

   affirmatively failed to disclose they copied those claims. Further, that the inventors “on one

   occasion copied claims in the ’305 application and notified the Patent Office,” Id. at 13, supports

   that the inventors engaged in a systemic practice of copying claims, and reinforces that the

   inventors and counsel knew of their obligation to inform the PTO. Thus, Guardant’s allegations

   support the strong inference “that a specific individual was not just aware of the Guardant

   application but also knew of the specific claims and that they were substantially copied.” Id. at

   12. Plaintiffs ask the Court to ignore the strong inference of fraudulent intent based on the


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   alleged facts and weigh other possible inferences, but “[w]hether Defendants will ultimately

   prove that a specific intent to deceive is the single most reasonable inference is a matter for

   another day.” Diebold Nixdorf, 2021 WL 861734, at *4.

          Plaintiffs’ remaining arguments go to the weight of Guardant’s arguments, and not the

   sufficiency of its allegations, and thus, do not support dismissal. Quest Integrity USA, LLC v.

   Clean Harbors Indus. Servs., Inc., No. 14-1482-SLR, 2015 WL 4477700, at *1 n.4 (D. Del. July

   22, 2015) (“The court does not rely on the parties' substantive arguments to determine whether

   the inequitable conduct allegations were sufficiently pled.”). The veracity of an allegation is

   improperly addressed in a motion to dismiss. York Bldg. Prod. Co. v. Mumma, No. 10-1677-JEJ,

   2011 WL 13214367, at *3 (M.D. Pa. Aug. 9, 2011) (refusing to consider certain evidence on a

   motion to dismiss because such consideration “would require a determination of its reliability

   and weight, which would be inappropriate for the Court to conduct at this time.”).

          For example, Plaintiffs argue that “Guardant’s allegation in Count VII (which it omits

   from Count VIII) that Plaintiffs filed exact copies of Guardant’s ’822 patent should be given no

   weight because that allegation is unquestionably false.” D.I. 39 at 111. But, while Plaintiffs

   quibble with the wording of the allegation, Plaintiffs do not dispute the claims were clearly

   copied, with small modifications. For instance, as set forth below, claim 37 of the ’066

   Application is almost completely identical to claim 1 of Guardant U.S. Patent No. 9,834,822

   claim 1, with the only differences underlined:




   1
     In one counterclaim, Guardant alleges that “Claims 37-39 and 41-43 of the ’066 Application
   were exact copies of claims 1-3, 6-7, and 10 from Guardant’s ’822 Patent, which issued on
   December 5, 2017.” D.I. 30 at ¶ 250. Claim 37 and 1 of the ’066 Application and ’822 Patent
   respectively are near-exact copies with immaterial differences, but Guardant would be willing to
   amend this allegation to remove the word exact.
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    Plaintiffs’ U.S. Patent Application No.              Guardant’s U.S. Patent No. 9,834,822,
    16/411,066, Claim 37 (5/24/2019)                     Claim 1
    37. (New) A method, comprising:                      1. A method, comprising:

    a) providing a population of circulating DNA         a) providing a population of cell free DNA
    molecules obtained from a bodily sample              (“cfDNA”) molecules obtained from a bodily
    from a subject;                                      sample from a subject;

    b) converting the population of circulating          b) converting the population of cfDNA
    DNA molecules into a population of non-              molecules into a population of non-uniquely
    uniquely tagged parent polynucleotides,              tagged parent polynucleotides, wherein each
    wherein each of the non-uniquely tagged              of the non-uniquely tagged parent
    parent polynucleotides comprises (i) a               polynucleotides comprises (i) a sequence
    sequence from a circulating DNA molecule of          from a cfDNA molecule of the population of
    the population of circulating DNA molecules,         cfDNA molecules, and (ii) an identifier
    and (ii) an identifier sequence comprising one       sequence comprising one or more
    or more polynucleotide barcodes, such that           polynucleotide barcodes;
    each non-uniquely tagged parent
    polynucleotide is substantially unique with
    respect to other non-uniquely tagged parent
    polynucleotides in the population;

    c) amplifying the population of non-uniquely         c) amplifying the population of non-uniquely
    tagged parent polynucleotides to produce a           tagged parent polynucleotides to produce a
    corresponding population of amplified                corresponding population of amplified
    progeny polynucleotides;                             progeny polynucleotides;

    d) sequencing the population of amplified            d) sequencing the population of amplified
    progeny polynucleotides to produce a set of          progeny polynucleotides to produce a set of
    sequence reads;                                      sequence reads;

    e) mapping sequence reads of the set of              e) mapping sequence reads of the set of
    sequence reads to a reference sequence;              sequence reads to one or more reference
                                                         sequences from a human genome;

    f) grouping the sequence reads into families,        f) grouping the sequence reads into families,
    each of the families comprising sequence             each of the families comprising sequence
    reads comprising the same identifier sequence        reads comprising the same identifier sequence
    and having the same start and stop positions,        and having the same start and stop positions,
    whereby each of the families comprises               whereby each of the families comprises
    sequence reads amplified from the same non-          sequence reads amplified from the same
    uniquely tagged parent polynucleotide;               tagged parent polynucleotide;

    g) at each genetic locus of a plurality of           g) at each genetic locus of a plurality of
    genetic loci in the reference sequence,              genetic loci in the one or more reference
    collapsing sequence reads in each family to          sequences, collapsing sequence reads in each
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    yield a base call for each family at the genetic    family to yield a base call for each family at
    locus; and                                          the genetic locus; and

    h) determining a frequency of one or more           h) determining a frequency of one or more
    bases called at the locus from among the            bases called at the locus from among the
    families.                                           families.

   The undeniable (and undisputed) similarity of these claims creates the strong inference that the

   inventors and prosecuting attorney copied Guardant’s claims and belies Plaintiffs’ suggestion

   that those individuals simply “did not appreciate that the claims were substantially similar.” D.I.

   39 at 11. But even if Plaintiffs’ proposed inference is plausible—it is not—Plaintiffs argue the

   facts, not the sufficiency of Guardant’s allegations taken as true. York Bldg. Prod. Co., 2011 WL

   13214367, at *3.

                  3.      Guardant Adequately Pled How Failure To Notify The PTO Of Claim
                          Copying Is Material

          Guardant’s counterclaims allege that “applicants’ failure to notify the PTO of the copied

   claims was material to the patentability . . . because identifying the copied claims would have

   triggered an interference.” D.I. 30 at ¶¶ 262, 287. Further, the claims “would not have issued if

   Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen had notified the PTO of the

   copied claims.” Id. at ¶¶ 263, 288. These allegations sufficiently plead the materiality of the

   omissions, namely that but for the omissions, the PTO would have instituted interference

   proceedings which would have precluded the issuance of each patent. “[T]he plausibility

   requirement is not akin to a ‘probability requirement at the pleading stage; it simply calls for

   enough fact[s] to raise a reasonable expectation that discovery will reveal’ that the defendant is

   liable for the misconduct alleged.” In re Bill of Lading Transmission & Processing Sys. Pat.

   Litig., 681 F.3d 1323, 1341 (Fed. Cir. 2012) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S.

   544, 556 (2007).


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          Contrary to Plaintiffs’ argument, Guardant’s allegations properly address materiality. For

   example, Guardant’s counterclaims allege that “identifying the copied claims would have

   triggered an interference,” and that the “[p]atent[s] would not have issued if Jesse Salk,

   Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen had notified the PTO of the copied

   claims.” D.I. 30 at ¶¶ 262, 263, 287, 288. Moreover, Guardant has pled, with sufficient detail,

   that in the one instance where Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen

   disclosed claim copying “no patent issued.” Id. at ¶¶ 268, 293. Ignoring this, Plaintiffs argue

   that “Guardant does not plead facts plausibly explaining why an interference would have been

   triggered or how and why an examiner would have used the undisclosed information to reject

   UW’s claims.” D.I. 39 at 14. This ignores the pleading standard and instead implies that

   Guardant need proofs which are unavailable at this stage.

          Plaintiffs’ argument that “the ’699 and ’951 patents, which admittedly claim priority

   before the effective date of the AIA, would lose in a priority contest to Guardant’s post-AIA

   filings,” D.I. 39 at 14, is a complicated question of fact and law inappropriate for resolution on

   the pleadings. But the issue here is not a “priority contest” based on priority date (which

   Guardant may challenge in this case), but rather an issue of undisclosed claim copying. “When a

   claim is copied from another patent for interference purposes, it must be supported by the

   specification of the copier.” Cultor Corp. v. A.E. Staley Mfg. Co., 224 F.3d 1328, 1332 (Fed.

   Cir. 2000). Plaintiffs’ copied claims may be unsupported by the specifications therefore the

   priority date of the applications containing the copied claims is not dispositive. See, e.g., D.I. 30

   at 19 (Third Affirmative Defense). Similarly, Plaintiffs’ argument that “the allegedly copied

   claims changed before they issued” is also misplaced. D.I. 39 at 14. The fact that the claims

   changed throughout prosecution does not limit the applicability of Section 135(b). Pre-AIA


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   Section 135 addresses a claim “made in an application,” not a “claim as issued.” 35 U.S.C.

   § 135(b)(1).

           Further, that the applicants cited the patent in an Information Disclosure Statement

   (“IDS”) does not dispel them of their duty of candor to disclose their claim copying. “PTO Rule

   56, codified at 37 C.F.R. § 1.56, imposes on all individuals associated with the filing and

   prosecution of a patent application a duty of candor and good faith in dealing with the PTO

   during the period of examination of a patent application.” Avid Identification Sys., Inc. v. Crystal

   Imp. Corp., 603 F.3d 967, 973 (Fed. Cir. 2010) (citing 37 C.F.R. § 1.56(a)). The duty of candor

   includes a duty to disclose to the PTO all information known to each individual that is material

   to the issue of patentability. Id.

           Because Guardant has adequately alleged each element of inequitable conduct, Plaintiffs’

   motion on these counts should be denied.

           B.      Guardant Has Pled Sufficient Facts To Support Its Unpatentability
                   Counterclaims.

                   1.      The Alleged Facts Are Sufficient To Show That the ’699 and ’951
                           Patents Fail to Properly Identify The Inventors.

           “A patent is invalid if more or less than the true inventors are named.” Trovan, Ltd. v.

   Sokymat SA, Irori, 299 F.3d 1292, 1301 (Fed. Cir. 2002). Here, Plaintiffs and Guardant agree

   that to allege improper inventorship, Guardant “must allege facts that show the ’699 and ’951

   patents name as inventors more or fewer people than the true inventors.” D.I. 39 at 16.

   Guardant has done precisely that, pleading that “TwinStrand has also shamelessly attacked

   Guardant’s patent portfolio by copying Guardant’s own patent claims into TwinStrand patent

   applications—misrepresenting TwinStrand employees and founders as the true inventors of the

   claimed inventions” (D.I. 30 ¶ 124), “[t]he ’699 Patent fails to name the actual inventor of the


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   claimed subject matter” (Id. ¶ 228), and “[t]he ’951 Patent fails to name the actual inventor of the

   claimed subject matter.” Id. ¶ 238.

          Guardant need not plead facts regarding conception and reduction to practice by the

   alleged correct inventors at this stage. Rather, “[a] patent may be invalid simply because it

   names the wrong inventors” and allegations of statutory invalidity due to improper inventorship

   need not be accompanied by the names of the supposed correct inventors. Belcher Pharms., LLC

   v. Hospira, Inc., No. 17-775-LPS, 2019 WL 2503159, at *1 n.1 (D. Del. June 5, 2019) (citing 35

   U.S.C. §§ 101, 115, 282). Even if this were the correct standard, Guardant’s allegations are

   based on improper copying of claims from Guardant patents. Thus the inventors of Guardant’s

   claimed inventions are the proper inventors here. See D.I. 30 at ¶ 142 (“Guardant’s ’822 Patent

   titled ‘Systems and methods to detect rare mutations and copy number variation’ issued on

   December 5, 2017 and names AmirAli Talasaz as inventor of the claimed subject matter.”) and

   id. at ¶ 146 (“The named inventors of the subject matter of Guardant’s Patent Application

   WO2015/100427 are Helmy Eltoukhy and AmirAli Talasaz.”). Guardant has thus adequately

   alleged unpatentability for improper inventorship, and Plaintiffs’ motion to dismiss these counts

   should be denied on this basis alone.

                  2.      Pre-AIA Section 135(b) Provides a Cause of Action

          Plaintiffs’ motion asks this Court to dismiss Guardant’s counterclaims of unpatentability

   under Sections 101, 115, and 135. D.I. 30 at ¶ 227, 237. But nowhere do Plaintiffs argue that

   unpatentability under Sections 101 and 115 are not cognizable causes of action and/or

   affirmative defenses. Instead, Plaintiffs focus on Section 135 and incorrectly assert that it does

   not provide a basis for invalidity. As discussed below, Plaintiffs’ argument here is inconsistent

   with analogous Federal Circuit case law.


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          Proper inventorship is a necessary requirement for a valid patent. As Guardant pled,

                  Chapter 2157 of the Manual of Patent Examining Procedure states:
                  “Although the AIA eliminated pre-AIA 35 U.S.C. § 102(f), the
                  patent laws still require naming of the actual inventors of the
                  claimed subject matter . . . In the rare situation where it [is] clear
                  that the application does not name the correct inventorship and the
                  applicant has not filed a request to correct inventorship under 37
                  C.F.R. § 1.48, Office personnel should reject the claims under 35
                  U.S.C. § 101 and 35 U.S.C. § 115.”

   Id. at ¶ 229. See also Cubist Pharms., Inc. v. Hospira, Inc., 75 F. Supp. 3d 641, 673 (D. Del.

   2014), aff'd, 805 F.3d 1112 n.14 (Fed. Cir. 2015) (“[P]roper inventorship remains a requirement

   of patentability through § 101.”); Applied Materials, Inc. v. Multimetrixs, LLC, No. 06-07372

   MHP, 2008 WL 2892453, at *5 (N.D. Cal. July 22, 2008), aff'd sub nom. Applied Materials, Inc.

   v. Multimetrix, LLC, 404 F. App'x 493 (Fed. Cir. 2010) (“An oath of inventorship is a

   prerequisite for a patent (see 35 U.S.C. § 115; 37 C.F.R. § 1.63(a)(4)) and examiners are required

   to reject applications on the basis of improper inventorship (see 35 U.S.C. § 102(f)).”).

          Under Section 3(n) of the AIA:

                  The provisions of sections 102(g), 135, and 291 of title 35, United
                  States Code, as in effect on the day before the effective date set
                  forth in paragraph (1) of this subsection, shall apply to each claim
                  of an application for patent, and any patent issued thereon, for
                  which the amendments made by this section also apply, if such
                  application or patent contains or contained at any time--(A) a claim
                  to an invention having an effective filing date as defined in Section
                  100(i) of title 35, United States Code, that occurs before the
                  effective date set forth in paragraph (1) of this subsection.

   Plaintiffs state that “the ’699 and ’951 patents . . . admittedly claim priority before the effective

   date of the AIA.” D.I. 39 at 14. Thus, pre-AIA § 135(b) applies to the applications that issued

   as the ’699 and ’951 patents.2



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     Guardant does not concede the priority dates of the ’699 and ’951 patents, which are irrelevant
   to this analysis.
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          Plaintiffs rely on a single case from the Eastern District of California for the proposition

   that “Section 135, by its own terms does not provide a basis for invalidity, nor is it an

   enumerated invalidity defense under 35 U.S.C. § 282.” D.I. 39 at 18. But while § 135 is not

   expressly recited in § 282, the Federal Circuit reads § 282 to include defenses not expressly

   identified, including defenses related to errors by the PTO that are analogous to § 135. Quantum

   Corp. v. Rodime, PLC, 65 F.3d 1577, 1584 (Fed. Cir. 1995). In Quantum, the Federal Circuit

   found that a violation of 35 U.S.C. § 305, which states that the scope of amended or new claim

   cannot be enlarged in PTO reexamination, “is an invalidity defense in a patent infringement

   action” despite not being expressly identified in § 282. The Federal Circuit found that “the

   Patent Act is silent regarding the proper remedy to be employed by a district court in a patent

   infringement suit when it determines that claims were improperly broadened during

   reexamination in violation of 35 U.S.C. § 305.” Id. at 1583 (“Neither the express words in

   section 305 nor its legislative history provide any guidance in this situation; they merely recite

   the prohibition against broadening during reexamination.”). The Federal Circuit found that “[i]f

   the only penalty for violating section 305 is a remand to the PTO to have the reexamined claims

   narrowed to be commensurate in scope with what the applicant was only entitled to in the first

   place, then applicants will have an incentive to attempt to broaden their claims during

   reexamination, and, if successful, be able to enforce these broadened claims against their

   competitors” and that “[t]his result essentially renders the prohibition in section 305

   meaningless.” Id. at 1584. The Federal Circuit concluded that its holding “is not inconsistent

   with 35 U.S.C. § 282” as “Section 282 does not state that the list of invalidity defenses contained

   therein are the only ones available; the statute merely says ‘[t]he following shall be defenses.’”

   Id.


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           As in Quantum, Guardant seeks to invalidate these patents where, had the inventors and

   prosecuting attorney disclosed the claim copying, the claims would have been subject to a

   derivation proceeding and rejected. While § 282 does not expressly identify § 135 as a defense,

   the Patent Act does not foreclose it as a proper defense, and dismissing this counterclaim would

   deprive Guardant the opportunity to challenge the claims here—a challenge Guardant should

   have been permitted to raise at the PTO had it not been for the inventors’ misconduct. Further,

   as Quantum cautions, without allowing § 135 to be asserted as a defense, applicants prosecuting

   pre-AIA claims will have an incentive to copy claims one year after the original patent issues and

   unsuspecting third parties in Guardant’s position will have no recourse.

           On the contrary, Chiron Corp. v. Genentech, Inc., 268 F. Supp. 2d 1148, 1171 (E.D. Cal.

   2002), cited by Plaintiffs (D.I. 39 at 18), incorrectly interpreted Section 282 as providing a finite

   list of defenses, noting in a parenthetical that it “list[s] defenses available in a patent

   infringement suit.” There, the Eastern District of California concluded that “Section 135(b) acts

   as a statute of limitations by placing a one year time limit on when a patent applicant can copy

   the claims of another inventor's patent in order to provoke an interference” and that “[i]t is a

   procedural bar to interference proceedings, not a substantive basis upon which to declare the

   claims of a patent invalid.” Id. Had the court in Chiron applied the holding in Quantum (that §

   282 is not an exhaustive list of all possible invalidity defenses), it would have likely permitted

   the § 135 invalidity defense to proceed.

           Guardant should be allowed to pursue its § 135 defense, particularly here where the

   discovery on this defense will largely, if not completely, overlap with discovery to be taken in

   this case, including on the § 101, § 115, and inequitable conduct claims.




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             C.     Guardant’s Affirmative Defenses Are Adequately Pled.

             Plaintiffs muddle the pleading standard and ask the Court to strike Guardant’s Fourth and

   Twelfth, and Eighth affirmative defenses on the same basis as they ask the Court to dismiss

   Counts V and VI, and VII and VIII respectively. In doing so, Plaintiffs fail to address the

   distinct pleading standard for affirmative defenses. “The court has held that an allegation that

   states that the claims of a patent are invalid for ‘fail[ing] to meet the conditions for patentability

   within the meaning of the patent laws, Title 35 § 101 et seq., including, but not limited to,

   §§ 101, 102, 103 and/or 112’—while insufficient as a counterclaim to survive a motion to

   dismiss—is sufficient as an affirmative defense to survive a motion to strike.” Senju Pharm.,

   921 F. Supp. at 303 (quoting Internet Media Corp. v. Hearst Newspapers, LLC, 10–690-SLR,

   2012 WL 3867165, at *1, *3 (D. Del. Sept. 6, 2012)).

             Here, Guardant’s Fourth and Twelfth Affirmative Defenses are sufficient to put Plaintiffs

   on fair notice. D.I. 30 at 19 (Fourth Affirmative Defense, “Inventorship/Derivation . . . One or

   more claims of the ’631 patent, the ’699 patent, the ’951 patent, and the ’127 patent are invalid

   for failure to name the correct inventors pursuant to 35 U.S.C. § 116 and/or the claims were

   derived from the inventions of others.”) and 21 (Twelfth Affirmative Defense, “Failure to

   Comply With Patentability Requirements of 35 U.S.C. § 135 . . . One or more claims of the ’699

   patent are invalid for failure to comply with one or more of the conditions of patentability set

   forth in 35 U.S.C. § 135.”).3 Because neither claim requires fraud or misleading conduct as an

   element, neither is subject to the Twombly/Iqbal or Rule 9(b) pleading standards. See Bayer

   CropScience AG v. Dow AgroSciences LLC, No. 10-1045-RMB (JS), 2011 WL 6934557, at *3

   (D. Del. Dec. 30, 2011) (“Because equitable estoppel has misleading conduct by the patent



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       Section 135(b) is an invalidity defense for the reasons stated in Section IV.B.ii above.
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   holder as one of its elements, Defendant was required to plead this affirmative defense with

   particularity under Rule 9(b).”).)

           Guardant’s Eighth Affirmative Defense, “Unclean Hands,” meets the heightened

   pleading requirements of Rule 9(b), particularly when read in view of the related counterclaims.

   D.I. 30 at 20 (“Plaintiffs’ Complaint is barred by the doctrine of unclean hands as a result of the

   acts, conduct, and omissions of Plaintiffs or others that are attributable to Plaintiffs before,

   during, and after prosecution of the Asserted Patent and Plaintiffs’ conduct before filing this

   action and in filing of this action.”). See, e.g., Sonos, Inc. v. D&M Holdings Inc., No. 14-1330-

   RGA-MPT, 2016 WL 4249493, at *5 (D. Del. Aug. 10, 2016), report and recommendation

   adopted, No. 14-1330-RGA, 2016 WL 4581078 (D. Del. Sept. 1, 2016) (“Because an element of

   unclean hands is based in fraud, the defense must be pled with particularity under FED. R. CIV.

   P. 9(b).”).

           As discussed above, Guardant has met the heightened pleading standard of Rule 9 for

   Counts VII and VIII. Both Guardant’s counterclaim Counts VII and VIII, and its eighth

   affirmative defense are based on the Applicants’ affirmative omission of their claim copying

   before the PTO. Therefore, its eighth affirmative defense should not be stricken. Genentech,

   Inc. v. Amgen Inc., 17-01407-CFC, D.I. 626 at 13-14 (D. Del. Feb. 11, 2020) (denying motion to

   strike affirmative defenses of inequitable conduct and unclean hands where the affirmative

   defenses were based on allegations made in support of counterclaims).

        Guardant’s Fourth, Twelfth, and Eighth affirmative defenses should therefore not be stricken.

   V.      CONCLUSION

           Guardant respectfully requests that the Court deny Plaintiffs’ partial motion to dismiss for

   the foregoing reasons.


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    Dated: March 4, 2022                         Respectfully submitted,

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